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                                                                   February 18, 2025
 VIA ECF
 The Honorable Nicholas G. Garaufis
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, 1426 South
 Brooklyn, New York 11201

        Re:    SEC v. Adani, et al., 24-cv-08080-NGG (E.D.N.Y.)

 Dear Judge Garaufis:

         Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this status
 update regarding its efforts to serve its Complaint on Defendants Gautam Adani and Sagar Adani
 (collectively, “Defendants”). Defendants are located in India, and the SEC’s efforts to serve
 them there are ongoing, including through a request for assistance to the Indian authorities to
 effect service under the Hague Service Convention for Service Abroad of Judicial and
 Extrajudicial Documents in Civil or Commercial Matters (“Hague Service Convention”).

         The SEC filed its Complaint on November 20, 2024, alleging that Defendants violated
 the antifraud provisions of the federal securities laws by knowingly or recklessly making false
 and misleading representations concerning Adani Green Energy Ltd. (“Adani Green”) in
 connection with a September 2021 debt offering by Adani Green. In a related criminal case
 arising from many of the same alleged facts, the United States Attorney for the Eastern District
 of New York charged Defendants with, among other things, conspiracy and securities fraud. See
 United States v. Adani, et al., 24-cv-433-NGG (E.D.N.Y.).

          Because Defendants are located in a foreign country, Rule 4(f) of the Federal Rules of
 Civil Procedure (“FRCP”) governs service of the Summons and Complaint. FRCP 4(f) contains
 no set time limit for service, and the SEC may serve Defendants “by any internationally agreed
 means of service that is reasonably calculated to give notice,” see FRCP 4(f)—such as the Hague
 Service Convention. See Gurung v. Malhotra, 279 F.R.D. 215, 218 (S.D.N.Y. 2011) (noting that
 service via the Hague Service Convention is one permissible means of serving defendants
 located in India). Since the filing of its Complaint, SEC staff has been working to serve
 Defendants in accordance with FRCP 4(f). SEC staff has contacted Defendants or their counsel
 (to the extent SEC staff is aware of such counsel) and has sent them Notices of Lawsuit and
 Requests for Waiver of Service of Summons, including copies of the Complaint. Additionally,
 under Article 5(a) of the Hague Service Convention, the SEC has requested assistance from
 India’s Ministry of Law and Justice, the Central Authority for India under the Hague Service
 Convention. That process is ongoing, and the SEC will continue its efforts to serve Defendants
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 in India by the methods prescribed by FRCP 4(f)—including under the Hague Service
 Convention—and will keep the Court apprised of its progress.

                                                  Respectfully submitted,
                                                  /s/ Christopher M. Colorado .
                                                  Christopher M. Colorado
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